Case 2:05-cr-20187-SH|\/| Document 6 Filed 06/24/05 Page 1 of 2 Page|D 6

UNITED sTArEs DISTRICT COURT F'U*":` A@i- D-C.

WESTERN $;r£c];riv<i)sii;:i:NNEssEE 05 JUN 214 AH 8: 28
UNITED sTATEs 0F AMERICA ' 3
-vs- Case No. 2:05cr20187-Ma

MILTON JOHNSON

 

ORDER OF TEMPORARY DETENTION
PENDING H]i`.ARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govegnment, it is ORDERED that a detention hearing is set for
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FRIDAY, JUNE 24, 2005 at `H‘HS"PTM. before United States Magistrate Judge Tu M. Pham in

Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.
Date: June 23, 2005 //"Z"

- M

S. THOMAS ANDERSON
UN`ITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection ( 1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (BlBS) Order of Ten'porary Detanl|on
Thts document entered on the docks h a
with Flute 55 and/or 32(b) FRCrP on w

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20187 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

